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                                 STATEMENT OF OFFENSE
On March 1, 2025, at approximately 5:25 pm, members of the Metropolitan Police Department’s
(“MPD”) Seventh District Special Missions Unit (“SMU”) were on patrol in the Seventh District.
SMU members were in full uniform in a fully marked cruiser near 4700 South Capitol Street SE,
Washington, D.C.
As officers drove on the 400 Block of Southern Avenue, they observed an individual standing to
the left side of a Shell gas station, later identified as Kelon DUKES, smoking what appeared to be
a marijuana cigarette. When DUKES noticed the officers, Officer Yeilen Fernandez observed
DUKES toss the cigarette and a black bag, then run, toward the Maryland border. See Figure 1.




                        Figure 1: DUKES, in red, fleeing from officers
MPD officers pursued DUKES on foot while other officers remained at the location of the tossed
marijuana cigarette and bag. After a brief chase, MPD officers apprehended and detained DUKES
on the sidewalk on the 400-block of Southern Avenue SE. Officer Stewart patted DUKES down
for officer safety subject to his detention. During the pat down, Officer Stewart felt a solid, L-
shaped object in the left front pocket of DUKES’ jacket. Officer Michael Moyer recovered the
firearm from the inside left jacket pocket. See Figure 2.
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                       Figure 2: Firearm in Mr. Dukes’ left jacket pocket
Officers also recovered Mylar bags and cash from DUKES. See Figure 3.




                    Figure 3: Mylar bag recovered from Mr. Dukes’ person
Upon inspection, the officers identified the firearm as a Sig Sauer P365, 9mm pistol, bearing Serial
Number (SN) 66G022116, loaded with eight (8) rounds of ammunition with one (1) round in the
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chamber. The firearm appeared to be fully functional and operable, capable of being fired by one
hand with a barrel length of less than 12 inches, and capable of expelling a projectile by the action
of an explosive. Additionally, upon a law enforcement database check, officers discovered that the
firearm with SN 66G022116 had been reported stolen.
No firearms or ammunition are manufactured within the District of Columbia and therefore the
recovered firearm and ammunition traveled in and affected interstate commerce.




                                  Figure 4: Recovered Firearm
Officers canvassed the area where DUKES was smoking marijuana and recovered the black bag
and marijuana cigarette that DUKES tossed. Officer Fernandez observed the cigarette appeared to
be infused with Hashish THC Wax. The bag contained 1.7 ounces of marijuana in assorted Mylar
bags, a scale, and cash in various denominations. See Figure 5.
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                                 Figure 5: Contents of black bag
The officers arrested DUKES in connection with his possession of the above-referenced firearm
and transported him to the Seventh District police station for processing. In the transport vehicle,
DUKES said something to the effect of “I saw you roll up I dropped the joint and I walked off to
show respect.”
DUKES was identified by word of mouth as “Davonte Williams” but later confirmed to be Kelon
Dukes, DOB: 05/06/2004 through a WALES/NCIC check. DUKES was convicted under 2023 CF2
2004064 as guilty of: Carrying a Pistol Without a License (CPWL), Possession of an Unregistered
Firearm and Unlawful Possession of Ammunition, and sentenced to 16 months’ incarceration,
suspended as to all but 8 months. DUKES was also convicted under 2023 CF2 002076 of Carrying
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a Pistol Without a License (CPWL). CPWL is a crime which is punishable by a term of
imprisonment exceeding one year.
                                                  Respectfully Submitted
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                                                  Special Agent Nobi Thomas
                                                  Bureau of Alcohol, Tobacco, Firearms &
                                                  Explosives (ATF)

Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on March 6,
2025.
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                                           ____________________________________
                                           HONORABLE MOXILA A. UPADHYAYA
                                           UNITED STATES MAGISTRATE JUDGE
